                   Case 4:15-cr-00038-JM                      Document 690          Filed 04/27/17          Page 1 of 7
A0245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 1
                                                                                                                         FILED
                                                                                                                      U.S. DISTRICT COURT
                                                                                                                  EASTERN DISTRICT ARKANSAS
                                      UNITED STATES DISTRICT COURT
                                                    EASTERN DISTRICT OF ARKANSA:                                     APR 2 7 2017
                                                                                                         JAMES'~~Q~K
         UNITED STATES OF AMERICA                                         Judgment in a Criminal ce,.,;;,e_....~~,.,pA~~~"""""lkll!liill"l!!~!!JiT'
                    v.                                                    (For Revocation of Probation or Supervise{!Re)(;llSC)!1$>
              JESSICA TUCKER MONK

                                                                          Case No. 4:15cr00038-12 JM
                                                                          USM No. 29064-009
                                                                           Lisa Peters
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            Special, Standard                of the tenn of supervision.
D was found in violation of condition(s)                - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                             Nature of Violation                                   Violation Ended
1 - Special                      Failure to participate in substance abuse treatment                             11/02/2016
2 - Special (2)                  Failure to participate in mental health counseling                              11/08/2017
3 - Special (3)                  Failure to participate in residential re-entry center                         02/03/2017
4 - Special (4)                  Failure to pay special penalty assessment                                     04/27/2017
       The defendant is sentenced as provided in pages 2 through _ _7 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic crrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5952                        04/27/2017
                                                                                                 e of Imposition of Judgment
Defendant's Year of Birth:           1982

City and State of Defendant's Residence:                                                            Signature of Judge
Perryville, Arkansas
                                                                           JAMES M. MOODY JR                             U.S. District Judge
                                                                                                 Name and Title of Judge


                                                                                     YI''\''              Date
                   Case 4:15-cr-00038-JM                    Document 690   Filed 04/27/17     Page 2 of 7
AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet IA

                                                                                          Judgment-Page   -=2- of      7
DEFENDANT: JESSICA TUCKER MONK
CASE NUMBER: 4:15cr00038-12 JM

                                                      ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number               Nature of Violation                                                            Concluded
5 - Standard (5)               Failure to obtain employment                                                   04/27/2017
6 - Standard (6)               Failure to report of change in residence                                       02/03/2017
7 - Standard (7)               Failure to refrain from the use of controlled substances                       04/10/2017
                       Case 4:15-cr-00038-JM                       Document 690         Filed 04/27/17      Page 3 of 7
  AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                     Judgment - Page   3   of     7
  DEFENDANT: JESSICA TUCKER MONK
  CASE NUMBER: 4:15cr00038-12 JM


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
                   SIX (6) MONTHS




     ti The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant be designated to the closest facility to Perryville, Arkansas to be close to family.




     ti The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            D     at   --------- D                          a.m.     D     p.m.    on
            D    as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D    before 2 p.m. on
            D    as notified by the United States Marshal.
            D    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




         Defendant delivered on                                                           to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                                  By
                                                                                               DEPUTY UNITED STATES MARSHAL
                  Case 4:15-cr-00038-JM                      Document 690       Filed 04/27/17          Page 4 of 7
AO 2450     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release

                                                                                                   Judgment-Page      4    of         7
DEFENDANT: JESSICA TUCKER MONK
CASE NUMBER: 4:15cr00038-12 JM
                                                            SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:
      ONE (1) YEAR



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
tests thereafter as determined by the court.
0     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
r;/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
t/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
0     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judg1J1ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                           ST AND ARD CONDITIONS OF SUPERVISION
1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notification requirement.
                   Case 4:15-cr-00038-JM                     Document 690   Filed 04/27/17     Page 5 of 7
 AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3A - Supervised Release
                                                                                          Judgment-Page   _5_ of _     __,7~-
 DEFENDANT: JESSICA TUCKER MONK
 CASE NUMBER: 4:15cr00038-12 JM

                                         ADDITIONAL SUPERVISED RELEASE TERMS

14) The defendant shall reside in a residential re-entry center for a term of six months to commence immediately upon
release from imprisonment. The defendant will follow the rules and regulations of the facility.

15)The defendant will participate under the guidance and supervision of the probation office in a substance abuse
treatment program, which may include drug and alcohol testing, outpatient counseling, and residential treatment. The
defendant will abstain from the use of alcohol during supervision. The defendant will pay for the cost of treatment at the
rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
probation office. In the event the defendant is financially unable to pay for the cost of treatment, the co-pay requirement will
be waived.

16)The defendant will participate in a mental health program under the guidance and supervision of the probation office.
The defendant will pay for the cost of treatment at the rate of $10 per session, with the total cost not to exceed $40 per
month, based on ablility to pay as determined by the probation office. In the event the defendant is financially unable to
pay for the cost of treatment, the co-pay requirement will be waived.
                 Case 4:15-cr-00038-JM                      Document 690               Filed 04/27/17          Page 6 of 7
AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment - Page       6    of      7
DEFENDANT: JESSICA TUCKER MONK
CASE NUMBER: 4:15cr00038-12 JM
                              CRIMINAL MONET ARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                     Assessment                                             Fine                              Restitution
TOTALS         $ 100.00                                                   $ 0.00                          $ 0.00


D The determination of restitution is deferred until
     entered after such determination.
                                                             - - -. An Amended Judgment in a Criminal Case (AO 245C) will be

D    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
     be paid before the United States is paid.

Name of Payee                                        Total Loss*                      Restitution Ordered               Priority or Percentage




TOTALS                                                                          $                      0.00


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution or a fine more than $2)00, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § J612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the             D fine           D restitution.
     D the interest requirement for the           D fine              D restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters l 09A, 110, 11 OA, and l 13A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
                 Case 4:15-cr-00038-JM                     Document 690               Filed 04/27/17      Page 7 of 7
AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 6 - Schedule of Payments
                                                                                                                        7_ of
                                                                                                      Judgment - Page _ _               7
DEFENDANT: JESSICA TUCKER MONK
CASE NUMBER: 4:15cr00038-12 JM

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    r;;/ Lump sum payment of$ _1_0_0_._0_0_ _ __                     due immediately, balance due

          D not later than                                               , or
          D in accordance with D C,                 D      D,     D E,or        D F below); or
B    D Payment to begin immediately (may be combined with                       oc,       D D, or    D F below); or
C    D    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D    Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F    D    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary renalties IS due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
